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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

     v.                                               Case No. 21-cr-537 (JMC)

 RYAN SAMSEL,

        Defendant.

                     GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Ryan Samsel to 240 months of incarceration, three years of supervised release,

$2,000 restitution, a fine, and the mandatory assessment of $100 for each felony conviction and

$10 for each class B misdemeanor conviction (totaling $520). The recommended sentence is at the

midpoint of the Guidelines range (of 210-262 months’ imprisonment), as calculated by both

Probation and the government.

   I.        INTRODUCTION

          Ryan Samsel participated in the January 6, 2021 attack on the United States Capitol—a

violent attack that forced an interruption of the certification of the 2020 Electoral College vote

count, threatened the peaceful transfer of power after the 2020 Presidential election, injured more

than one hundred police officers, and resulted in more than 2.9 million dollars in losses. 1


1 As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States

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       Samsel was the first rioter to breach the restricted perimeter on January 6, 2021. He

unilaterally opened a section of fencing at the curb of the Peace Circle – the first barricade

separating crowds from the restricted U.S. Capitol grounds – and walked onto the restricted Capitol

grounds, paving the way for thousands of other rioters to follow him. Samsel then made his way

to a second barrier guarded by U.S. Capitol Police (USCP) officers. He verbally abused officers,

and then joined his co-defendant Stephen Randolph (Randolph) in forcibly pushing and pulling on

this second barrier – a linked metal, bike-rack barricade. Samsel then participated in the first

violent assault of officers defending the Capitol building that day. Samsel and Randolph, along

with three other codefendants, lifted the metal barricade above the officers’ faces and pushed it

into the line of police officers. Samsel and Randolph struck Officer C.E. in the face with their

section of the metal barricade with such force that they caused her to stumble backwards and hit

her head twice – first on a metal handrail and then again on the steps behind her.

       Once the second barricade fell and police were overwhelmed on the Pennsylvania Avenue

Walkway, the floodgates opened, and thousands of rioters poured onto the West Front of the U.S.

Capitol grounds. Samsel spent the next hour and a half terrorizing the police on the West Front.

He assaulted the police with his flag, grabbed another officer’s shield, tore at scaffolding, flashed




Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.

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officers, grabbed a 2x4 plank and hurled it at the police line, and threw a pole at a different police

line.

        Samsel was proud of his actions on that day, taking the time to record a selfie video during

the riot and announce with a smile that he had breached the Capitol. Samsel was still proud of his

actions years later when he told an interviewer that his actions on January 6th were justified,

because “sometimes civil disorder is needed.”

        The government recommends that the Court sentence Samsel to 240 months’ incarceration

for his convictions on:

        -   Count One, Obstructing, Impeding, or Interfering with Law Enforcement During a
            Civil Disorder, 18 U.S.C. § 231(a)(3) (Obstruction of USCP Officers);
        -   Count Two, Assaulting, Resisting or Impeding Certain Officers Using a Deadly or
            Dangerous Weapon and Inflicting Bodily Injury, 18 U.S.C. §§ 111(a)(1) and (b)
            (Assault of USCP Officer C.E. with a metal crowd control barrier);
        -   Count Eight, 40 U.S.C. § 5104(e)(2)(D), Disorderly or Disruptive Conduct in the
            Capitol Building or Grounds;
        -   Count Nine, 40 U.S.C. § 5104(e)(2)(F), Act of Physical Violence in a Capitol Building
            or Grounds,
        -   Count Eleven, 18 U.S.C. § 231(a)(3), Obstructing, Impeding, or Interfering with a Law
            Enforcement Officer During a Civil Disorder (Conduct on the West Front against
            police);
        -   Count Twelve, 18 U.S.C. § 111(a)(1), Assaulting, Resisting, or Impeding Certain
            Officers (Grabbing USCP Officer’s Shield); and
        -   Count Thirteen, 18 U.S.C. §§ 111(a)(1) and (b), Assaulting, Resisting or Impeding
            Certain Officers Using a Dangerous Weapon (Throwing Plank of Wood at Officers).

A sentence of 240 months of incarceration reflects the gravity of Samsel’s conduct and provides

sufficient deterrence given Samsel’s continued lack of remorse, active and public rehashing of

false narratives, violent criminal history, and interest in assaulting the Capitol again.

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     II.        FACTUAL BACKGROUND

           A.     The January 6, 2021 Attack on the Capitol

           The government refers the Court to the Statement of Facts (ECF 1-1 at 1-2) filed in this

case for a short summary of the January 6, 2021 attack on the United States Capitol by hundreds

of rioters, in an effort to disrupt the peaceful transfer of power after the November 3, 2020

presidential election.

           B.     Samsel’s Role in the January 6, 2021 Attack on the Capitol 2

           On the morning of January 6, 2021, Samsel traveled from Pennsylvania to Washington,

D.C. That same morning, he sent a text to a friend: “Fucking demarcates won Georgia.” This text

reflected that Samsel was upset about Congress’ certification of Georgia’s electoral college votes

for the 2020 presidential election. That day, Samsel wore a black Trump T-shirt over a light-

colored, long-sleeved hoodie, a red “Make America Great Again” hat, light-colored sweatpants,

and initially a jeans jacket. At times, he also toted a “Rambo” Trump flag. Samsel and his girlfriend

Raechel Genco 3 attended the “Stop the Steal” Rally at the Ellipse and then walked toward the

Capitol with a large crowd. Samsel, Genco, and the crowd arrived at the Peace Circle, which is

located at the end of Pennsylvania Avenue and at the foot of the U.S. Capitol grounds.

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2 The Court’s Findings of Fact set out the facts elicited at trial in great detail and accurately

reference the Government’s exhibits. ECF 345 at 4-13. The intent of this memorandum is not to
detail all of the facts proven at trial but solely to highlight Samsel’s conduct, which underlies the
guilty verdict for the counts identified above.
3 Genco was charged separately in 22-cr-0062-JMC and pled guilty to disorderly or disruptive

conduct on Capitol grounds, in violation of 40 U.S.C. § 5104(e)(2)(D).
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       The Peace Circle

       The Capitol building and its surrounding grounds were closed to visitors on January 6,

2021, and a restricted perimeter had been established around its grounds in anticipation of the Vice

President’s visit and the certification of the 2020 election. The restricted perimeter was made clear

to the public through linked, metal bike-rack barriers and snow fencing, much of which bore signs

that read “Area Closed By Order of the United States Capitol Police Board” (“Area Closed signs”).

Bike-rack barriers were placed on the sidewalk next to the road at the Peace Circle, a traffic circle

at the end of Pennsylvania Avenue on the northwest side of the Capitol grounds, to mark the

western boundary of the restricted area. Each bike rack weighs approximately 25 to 50 pounds.

       Additional barriers were established within the outer perimeter to further restrict access to

the building. One such barrier was a barricade of bike-racks, reinforced with snow fencing and zip

ties, with several Area Closed signs attached, that barred the way up the Pennsylvania Avenue

Walkway towards the Capitol building. The Pennsylvania Avenue Walkway is a footpath that runs

from the West Plaza of the Capitol building to the sidewalk at the road in the Peace Circle.




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  Government Exhibit 12 - Layout of the Peace Circle and Pennsylvania Avenue Walkway
                                         barriers

       Between approximately 12:40 and 12:50 p.m., Samsel and his co-defendants, Randolph,

James Grant (Grant), Paul Johnson (Johnson), and Jason Blythe (Blythe), joined with other rioters

on the roadway at the Peace Circle, just outside the outer perimeter barricades at the sidewalk.

During that time, five USCP officers, including Officers D.C. and C.E., were positioned at the top

of a staircase and behind the second barricade on the Pennsylvania Avenue Walkway. USCP

Sergeant T.L., who led their unit that day, was nearby on the West lawn.

       While on the roadway, Johnson used his megaphone to encourage and incite the crowd –

including his codefendants – to descend on the Capitol building. Gov. Exs. 304 and 340. While

pointing at the Capitol building, Johnson yelled “we can shout about Antifa all day long, but unless

we get in there, it means nothing.” Gov Exh. 340 at 00:55 - 1:01. Johnson yelled at the crowd to


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“Get on the front lines,” and to “1776 this fence right here.” Gov. Exh. 304. He rhetorically asked the

crowd, “Do you think George Washington would be standing behind this motherfucker?” Gov. Exh.

304, and complained about women, instead of men, being on the “front lines” at the Peace Circle, Gov.

Exh. 340 at 1:24–1:31.




                             Government Exhibit 304 at 4 seconds
                             Johnson in yellow circle, Samsel in red

       While Johnson yelled to “get on the front lines” and “where my men at?” Samsel made his

way towards the bike-racks at the curb of the Peace Circle. Gov. Exs. 304 and 340 at 1:25 – 2:00.

       At approximately 12:53 p.m., Samsel opened a section of the first metal bike rack

barricade, which demarcated the restricted area, at the sidewalk next to the road at the Peace Circle.

Gov. Exs. 201 at 13:14-13:21; 204 at 13:12-13:18; 309 at 00:10-:0030; 340 at 2:38 – 2:59.

Undeterred by uniformed police officers, “Area Closed” signs, and physical barricades, Samsel

defiantly tore down the fencing at the curb and walked onto the restricted grounds and toward the

officers on the Pennsylvania Avenue Walkway, marking the very first breach of the restricted


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perimeter on January 6. 4 Grant followed closely behind Samsel, excitedly jumping up and down

and waving the crowd towards the second barrier on the Pennsylvania Avenue Walkway. Id.; see

also 302 at 00:00-00:07. Hundreds of protesters followed Samsel’s and Grant’s lead, stepping past

the first barricade and walking towards the second barricade.

       Once they saw the breach, five USCP officers descended the stairs to man the second

barricade. ECF 317 at 113:10–19; Gov. Exh. 201 at 13:00–13:20. Sergeant T.L. joined Officers

C.E. and D.C. and three other officers on that Pennsylvania Avenue Walkway barricade. ECF 315

at 78:23–80:1; see also Gov. Exh. 302 at 00:05. As Samsel and Grant approached the officers at

the second barricade, Johnson now directed his chants at the officers, yelling through the

megaphone “We pay your bills!” and “You back the fuck off!” Gov. Exh. 302 at 0:00 – 00:15.

       Samsel was amongst the first to reach the second line of fencing. He positioned himself at

the front, up against the fencing, and began shouting at the officers manning the barricade. Samsel

falsely told Officer D.C. that he (Samsel) was a Marine and should be allowed to pass. 5 After

Officer D.C. responded that the area was closed and that Samsel could not enter, Samsel forcibly

pushed and pulled the fencing back and forth. Gov. Exh. 302 at 00:15 – 00:40. The officers held

onto the barricade, and Officer D.C. gave verbal warnings. Gov. Exh. 302 at 00:29 – 00:35. Samsel

stopped pushing long enough to remove his denim jacket and hand it to someone off-camera and

turn his red “Make America Great Again” hat around backwards, as though preparing for a fight.



4 Samsel understood the import of the moment. He crowed about his achievement to his friends

when he texted them on January 6 th and 7 th: “Dude no shit I started it” (Gov. Exh. 1103R); “I was
first one over the fence bro everybody followed me we went nuts lol[.]” (Gov. Exh. 1103W).
5 Samsel is not, nor has he ever been, a Marine. The FBI confirmed that Samsel had not served in

the U.S. military, and Samsel conceded as much when he was interviewed by the FBI post-arrest.
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Gov. Exh. 302 at 00:35 – 00:45.




              Government Exhibit 302 at 42 seconds Samsel (red circle) and
             Grant (blue circle) with Officer D.C. on the inside of the barricade.

       Randolph began to forcibly push and pull on the fence directly across from Officer C.E.

Gov. Exs. 302 at 00:51 – 00:57, 308 at 00:37. Samsel joined Randolph in lifting the portion of the

bike rack barricade off the ground across from Officer C.E., while Grant and Johnson lifted the

portion across from Sergeant T.L. and Officer D.C. Gov. Exs. 302 at 00:55-1:00, 308 at 00:39-

00:45. Blythe moved forward and grabbed the bike racks in between Johnson and Grant, and the

five defendants together drove the metal bike rack barricade up and into the officers. Gov. Exs.

302 at 00:55-1:02; 308 at 00:37-00:47; 309 at 1:25-1:31.




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Government Exhibit 302 at 56 seconds: All five defendants pushing the barricade at the police
                               line (Samsel circled in red)




 Government Exhibit 308A at 19 seconds: Samsel (circled in red) and Randolph (circled in
          purple) pushing the barricade against Officer C.E. (orange arrow)

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       As the defendants drove the metal bike-rack barricade at the police line, Samsel and

Randolph struck Officer C.E. in the face with the bike rack. ECF 345 at 9 (citing ECF 317 at 42:7–

43:12; see also Gov. Exh. 308A 0:25–37).




Government Exhibit 308A at 36 seconds: Samsel and Randolph (both circled in red) pushing
       into the barricade as Officer C.E.’s head hits the handrail (orange arrow)

       The force threw Officer C.E. back and caused her to slam her head twice: first against a

metal handrail, then against the steps. Id. (citing Gov. Exh. 308 at 0:44–46; ECF 317 at 44:12–

45:10). She lost consciousness and suffered a concussion. ECF 345 at 22.6 Someone picked her up

from the stairs and put her on her feet. 7 Once on her feet, Officer C.E. testified that she was


6 Officer C.E. testified, “the last thing that I really remember at that time was hearing that loud

clang of my jaw hitting the metal handrail.” Trial Tr. 10/25/23 (pm) at 42. Officer C.E. lost
consciousness when her jaw hit the handrail, so she did not remember her head hitting the stairs.
Id.
7 Thereafter, Samsel texted and told others that he helped Officer C.E. up. Video evidence shows

that Samsel’s version of events is, at best, incomplete. Although Samsel did walk around the
barricade towards Officer C.E., it was another rioter who initially checked on Officer C.E. and
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“incredibly confused,” “dazed” and could not focus. Trial Tr. 10/25/23 (pm) at 44-45. See also id.

at 47 (“The lights were on but no one was home….”). The next thing she remembered was her

fellow officer telling her that they had to go, and “adrenaline, survival” kicked in. Id. at 45.

       Officer C.E. was later transported to the hospital by ambulance after appearing groggy and

incoherent, and then passing out a second time in front of a coworker. ECF 345 at 22. At the

hospital, Officer C.E. described the pain she felt as “excruciating.” ECF 345 at 22. 8 This pain

lasted several weeks and required Officer C.E. to undergo physical therapy. ECF 345 at 22-23.

       It took until April 2021 for Officer C.E. to regain her balance and drive a car. Trial Tr.

10/25/23 (pm) at 60. From January through April, she could only get up for 30 minutes or less

before succumbing to bouts of vertigo and vomit. Id. at 61. She was on desk duty starting in May

2021, and stayed on desk duty for a year and a half. Id. at 63-64. She described it as “demoralizing,”

because desk duty was “not being a police officer.” Id. at 64. In November 2021, she suffered

another episode where she lost consciousness and again taken by ambulance to the hospital. Id.

She returned to full duty in July 2022. Id. at 64. She remains on medication for her head injury,




started to help her up; Samsel merely joined in. Gov. Exh. 309 at 1:29 to 1:36. Additionally, Samsel
lied and texted others that he returned Officer C.E.’s hat when he met up with her again on the
West Front. The same protester who helped Officer C.E. up also returned her hat. See Gov. Exh.
308A at 1:25 to 1:30 (other rioter trying to give Officer C.E. her blue ski hat), 1:59 (Officer C.E.
has her hat in her hand at the steps, before she sees Samsel again on the West Front); Gov. Exh.
309 at 1:36 to 1:39 (other rioter leans down, retrieves hat from the ground, and returns it to Officer
C.E.).
8 Officer C.E. described the pain as “absolutely excruciating…. I had to clamp my mouth shut to

try to keep from … either screaming, throwing up or crying. It was just horrible. It felt like
somebody was taking my head and trying to, like, tear it apart. I can’t describe to you the pain that
was … emanating from the back of my head.” Trial Tr. 10/25/23 (pm) at 58. She explained that
the pain was coming from the spot where her head had hit the stairs. Id. at 58-59.
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but she still gets migraines. Id. at 64-65 (“I would say a bad month I would have about one

[migraine] a week and on a good month, I’d have one a month.”) The migraines last from four

hours to two days. Id. at 65.

       Samsel’s codefendants Grant, Johnson, and Blythe used their portion of the bike-rack

barricade to drive Officer D.C. and Sergeant T.L. several feet backwards until their backs hit the

stairwell behind them. Gov. Exs. 302 at 1:01; 309 at 1:26-1:29. At the time, Officer D.C. feared

being trampled by the crowd. ECF 345 at 28 (citing ECF 317 at 120:13–121:7).

       Once over the barricades, Samsel continued to flout the USCP officers’ attempts to put the

barricade back up and their orders to “get back.” Instead of stepping back, Samsel stepped around

the barricade, grabbed an officer’s arm and shoved it down, and told the officer, “I saved you’all,”

(Gov. Exh. 308 at 1:14 to 1:18), presumably referencing the fact that he was the second person to

assist Officer C.E. off the ground after he shoved a barricade into her face.

       By this point, the barricade was down, and the officers outmanned. The defendants and the

rest of the rioters quickly overwhelmed the police line, and the USCP officers retreated up the

Pennsylvania Avenue Walkway towards the Capitol building. The rioters, including the five

defendants, charged towards the Capitol building on the Pennsylvania Avenue Walkway and onto

the West Front. Gov Exs. 302, 305, 306, 308, 309, 310, 311, 331.

       Civil Disorder on the West Front

       At approximately 12:59 p.m., just minutes after the Peace Circle assault, Samsel and other

rioters overran the West Front, where they were stopped by a thin line of USCP officers positioned

against temporary staging constructed for the inauguration. MPD officers later arrived to assist the


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USCP and helped establish a defensive bike rack barricade on the West Plaza. Over the next hour

and a half, Samsel prowled up and down the West Front, aggressively taunting, pushing and

throwing objects at police officers.

       Grabbing a Police Shield and Pushing into an Officer

       On third party video, Samsel can be seen at the front of the mob, standing directly across

from and yelling at an officer in riot gear on the south side of the West Front:




                  Government Exhibit 314 at 2:53: Samsel yelling at officer

       He then grabbed onto another USCP officer’s shield, and pulled the shield so hard that the

hard plastic folded:




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     Government Exhibit 314 at 3:06: Samsel grabbing and pulling on the police shield

       Samsel also got into a scuffle with a third USCP police officer, where Samsel used his

body weight to push into the officer and, when the officer pushed back, Samsel shoved the officer’s

hands away.




        Government Exhibit 313 at 20 seconds: Samsel after pushing into the police officer

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       Exposing Himself to Police

       At approximately 1:07 p.m., while still at the front of the crowd held back by a thin line of

USCP. officers, Samsel stepped toward the officers, turned away, and lowered his sweatpants and

underwear, exposing himself to the officers just feet away from them.




                Government Exhibit 1301: Samsel exposing himself to police

       Assaulting the Police with his Flag

       By approximately 1:37 p.m., Samsel was waving his Rambo Trump flag at officers on the

police line, yelling at them that he was a Marine, and berating the police. (Again, Samsel has never

been a Marine.) Oddly, as Samsel was repeatedly assaulting officers, he yelled at the officers that

they should be ashamed of themselves for treating him (Samsel) so poorly after he fought for them

as a Marine. Samsel repeatedly lowered his flag onto the officers, so that it covered the officers’

helmets and impeded their view.




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Government Exhibit 307 at 52         Gov. Exhibit 407 at 4:22: Samsel berating police
seconds: Samsel’s Rambo
Trump flag on the police




                     Government Exhibit 408 at 18 seconds: Samsel again
                           berating the police with his flag in hand

        At several points, Samsel choked up on the flagpole and made as if he were about to swing

it at the police officers:




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            Government Exhibit 411 at 5:30: Samsel choking up on the flagpole
                              as if to swing it at the police




 Government Exhibit 408 at 1:03: Samsel again acting as if to swing his flag at the police

       Tearing Scaffolding and Throwing a Wood Plank at the Police

       Samsel continued moving north on the West Front and tore the white protective tarp

covering the scaffolding on one of the grandstands.
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                Government Exhibit 325 at 5 seconds: Samsel
                pulling down the tarp covering the scaffolding

 Samsel then walked under the scaffolding and picked up a 2x4 plank from the ground.




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                        Government Exhibit 324 at 20 seconds: Samsel
                        under the scaffolding with the plank in his hand

       Armed with the plank, Samsel walked back into the crowd on the West Front, across from

the police line. Id. Once arrived, Samsel hurled the plank at MPD officers, causing one to duck.

Gov. Exs. 412, 202, 902.

       An MPD Captain testified at trial that objects, such as the plank, flying through the air at

police caused him grave concern for the safety of his officers. He testified that these objects “could

cause severe injury, such as lacerations, concussions. It could end somebody’s career. It could kill

somebody.” 10/26/23 Trial Tr. at 163.

       Throwing a Pole at the Police

       Samsel also threw what appears to be a curved metal pole at the police line, which was a

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few feet away. See Gov. Exh. 318.

Samsel                           Pole




         Government Exhibit 318 at 4                 Government Exhibit 318 at 5
         seconds: Samsel preparing to                seconds: Samsel throwing
         throw the pole                              the pole

         Samsel told the FBI --and subsequently bloggers-- that he left the U.S. Capitol grounds at

around 2:30 p.m., Gov. Exh. 504 at 26:50, which meant that Samsel was wreaking havoc on

restricted Capitol grounds for over an hour and a half.

         Celebrating Breaching the Capitol

         Samsel took a selfie video of himself and Genco, smiling and announcing that they had

“breached the Capitol.” Gov. Exh, 1103B.




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                         Government Exhibit 1103B at 4 seconds:
                             Samsel celebrating the breach

      On January 6 th, Samsel sent the below picture (Exh. 1103D) to his friend with the text “me

and my marine boys” (Exh. 1103E):




                  Government Exhibit 1103D: Samsel (second from left)
                             on restricted Capitol grounds

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       Samsel was proud of his assaultive behavior. He texted, “Me on news braking [sic] through

the line” (Gov. Exh. 1103I) and attached the following image:




                            Government Exhibits 1103F and 1103G

       Later on January 6 th, he texted a contact, “Dude no shit I started it[;]” and “I broke through

got hit with gas a few times but worth it lol.” Gov. Exhs. 1103R and 1103S.

       Samsel continued his boasting over the next few days. On January 7, 2021, he sent the

same two images and texted, “Me with the red hat braking through the lines joe me and my marines

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made it inside capital bro fuckem the two on my left are my big gay marines lol really tho on my

way home I’ll show you some vedios [sic] bro I’ll be at work tomorrow have a good night I was

first ones to brake [sic] door down lol[.]” Gov. Exh. 1103T.

          He texted others:

          -   “I’m on cover of time mag I was first one over the fence bro everybody followed me

              we went nuts lol” on January 7, 2021. Gov. Exh. 1103W.

          -   “This is all over internet” on January 23, 2021. Gov. Exh. 1103X.

                              Defendant’s Statements After January 6 th

          Statements Advocating Another Violent Assault on the U.S. Capitol

          At 2:33 p.m. on November 5, 2024, as the election results were coming in, Samsel

contacted Genco, discussed the election and threatened renewed violence “[u]ntil we get what we

want.” Gov. Exh. 1302. Genco reported that there were power outages in Pennsylvania. She added

that “he [Trump] is up in the polls and they’re … gettin’ frantic. They’re trying to do everything

possible to stop people from voting.” Samsel responded, “You need to buy a gun man. I mean

you’re still allowed to buy a gun. Buy a gun. You’re allowed. ‘Cuz I need to use it when I get out.

I’ll just use yours. Better buy a gun while you can, ‘cuz they’re going to try to take that away from

us.... You need to buy a nice one. Gonna get like two or three AR-15s…. I should write down what

I, what you, should get. I mean you can go in there and get’em. I want a silencer. My shit’s gonna

be nice. I wanna fucking pick people off from far, real far.” Gov. Exh. 1302 at 01:25 – 03:00

(emphasis added). 9



9
    Making a misrepresentation in connection with the acquisition or attempted acquisition of a
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       Later in the call, Genco noted that Trump was ahead in the polls. She added, “ I just hope

people … if something does go down, and Trump doesn’t win. I just hope people don’t like back

down.” To which Samsel answered, “No, you gotta rush the Capitol. I mean, honestly. Do it again.

I don’t give a fuck. I’d say it. Go back. Do it again. Who gives a fuck? Who cares? Do it every

time. Until we get what we want. I mean, I don’t give a fuck. I mean, if they can do what they want

and get away with it, beat me up and fuckin’ stick me in fucking broom closets. Fuck’em. Stick

them the fuck in a broom closet. Put Judge Cobb … in a broom closet. That bitch. Play that in

court, too. I don’t give a fuck.” Gov. Exh. 1302 at 11:50 – 12:40 (emphasis added). 10

       Additional Statements Advocating Violence

       Samsel’s statements on November 5 th were not said in a vacuum. Samsel has made

countless statements, which reflect his continued support for and advocacy of violence, even after

he was incarcerated for his actions on January 6th. For example, in a May 24, 2022 jail call with

Genco, in the context of her interacting with the Court and whether to remove her ankle bracelet

while on pretrial release for her criminal case, Samsel called her “you little dumb fuck” and told

her that, “You’re like the rest of these little pussy fucks …. If you had any balls, you’d go in there

and start stabbing motherfuckers.” Gov. Exh. 502 at 7:55-7:57, 8:40 to 8:56. When Genco declined



firearm from a licensed dealer is a separate federal felony. See 18 U.S.C. §§922(a)(6), 924(a)(2).
10 In a subsequent letter, Samsel identified himself as a victim. He told his reader that he was “in

the hole,” because Trump won. See Gov. Exh. 1303. “They say I’m a threat to the transfer of
power, I told [Genco] joking around we gotta go to DC every year on J6. I also told her she is
allowed to buy AR-15 and we are allowed. I should be restored back to normal …. Get the message
out that I was charged the day Trump won, and they took my phone, they punished me with new
charges because Trump won…. [T]his abuse of power has to end.” Id. He told Genco, “Please post
somthing [sic] asking people to tell Trump the FBI just gave Ryan Samsel charges the day he got
elected because I spoke about protecting Trump and our elections.” Id.
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to do that, Samsel responded, “Well, that’s how I am. That’s how I work. I don’t give a fuck. Next

time I see an FBI agent, I’ll punch’em directly in their goddamn face. I outta call’em up just for

an interview just so I can [unintelligible]” Id. at 8:56 to 9:10. When Genco again pushed back at

this level of aggression, Samsel responded, “That’s the problem. People like you out there exist.

They’re not aggressive enough ….” Id. at 10:05 to 10:12.

       In a June, 2022 letter from jail, Samsel wrote: “Our country is dying do [sic] to lies, greed,

power. All these poltions [sic] in office need to go. A woodchiper [sic] sounds good. They need to

fear us! We do not need to fear the government! I hope only my Dad is proud of me. I’m in books

even the World Almanac Book. I also believe when I get on the news I’ll tell people get your

wepons [sic] ready kiss your kidds [sic] goodbye and let’s fucking go! I have some news media

people People who wanna Talk And they like me, I will die happy now After all this government

has done to me hell pay backs. ” Gov. Exh. 1304 at p.2.

   Statements Painting Himself as Hero and Victim

   In addition to advocating for violence, Samsel’s post-January 6 th statements also reflect a

complete lack of remorse and instead a focus on painting himself as a hero or a victim. While

incarcerated, Samsel has given a series of interviews to bloggers, who then posted those interviews

on-line. In one interview, Samsel explained that he was “at the front gate … because I was a pissed-

off American.” Gov. Exh. 503 at 1:10 to 1:13. He added that he had “never heard of a non-violent

patriot. Sometimes civil disorder is needed. And I’m sorry I pushed on a gate and that’s all I did.”

Id. at 1:17 to 1:30. Much like his false narrative of being a mistreated Marine, Samsel continued

to push this fallen hero/patriot narrative, repeatedly alleging that he was the injured party. In


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interviews with bloggers, Samsel compared himself to a World War II prisoner of war (Gov. Exh.

504 at 10:20), a “combat soldier who was left behind” (Gov. Exh. 505 at 12:50), and Vietnam War

protesters (Gov. Exh. 509 at 26:40 to 26:51).

    In the previously referenced letter from jail, Samsel wrote his friend, “As you know I’m

accused of starting Jan 6 …. I hope one day people look back and say that was awsom [sic]! Ha

Ha That day was so good. A bunch of crazy people I lay in bed a smile when I think of how scared

those politons [sic] were. Good motherfucker. I wish more people there were like me …. I’m going

to write a book or have somebody eles [sic] write it. I made only 600 dollers [sic] others made

100’s of thousands ….” Gov. Exh. 1304 at p.1-2.

       Samsel lied and told bloggers that he had never been convicted of felonies; he just “got a

few misdemeanors when I was a kid for getting in fights.” Id. at 15:33-16:05. See also Gov. Exh.

505 at 9:20-9:30 (“I’m not a convicted felon. I had a few misdemeanors when I was a kid.”); Gov.

Exh. 506 at 7:45 to 10:40 (lied and said his criminal history was over 15 years old, minimized his

criminal history, and lied about “never hurt[ing] nobody”); Gov. Exh. 508 at 6:40 (asserted he only

had minor misdemeanors from when he was a kid).

       Samsel lied and told bloggers that he lost his eyesight owing to a fight in jail (Gov. Exh.

505 at 8:18 to 8:22; Gov. Exh. 507 at 15:31 to 15:39); lost sight in his right eye (Gov. Exh. 506 at

27:37 to 27:41); lost his eye (Gov. Exh. 514 at 8:32-8:35); and lost use of his left arm (Gov. Exh.

507 at 15:39; Gov. Exh. 514 at 8:33 to 8:36). All of these interviews occurred before trial. At trial,

Samsel was clearly able to see through both eyes and had the use of both arms.

       Samsel falsely claimed to the public that the Court was denying him necessary medical


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treatment. Gov. Exh. 507 (“Judge Cobb refuses to give me any medical.”); Gov. Exh. 506 at 30:30

(“Judge keeps denying my medical treatment.”); Gov. Exh. 506 at 31:55 (“I hope I’m suffering for

a reason.”).

       Samsel repeatedly provided images of himself in a broom closet with a yoga mat and told

bloggers that the jail was punishing him. See, e.g., ECF Dkt. 264 at 5. Even after these images

were shown to be manufactured, Samsel used the same images in a civil lawsuit, which he filed in

the Eastern District of New York. See 24-CV-05026-RPK, Federal Respondents’ Memorandum

of Law in Opposition to Petitioner’s Motion for a Preliminary Injunction, ECF Dkt. 9, at 24

(“Finally, Federal Respondents note that, unrelated to Samsel’s unfounded claims concerning

inadequate medical treatment, the habeas petition includes, without explanation, photographs

seemingly intended to trigger disgust or invoke sympathy concerning his conditions of

confinement at the MDC.”) (citing Dkt. 1 at 13).




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   These images, which have appeared not only in motions mentioned above, but also in national

media and online, are fabrications. Samsel included the photographs in his August 27, 2023 motion

for reconsideration of his detention order in his criminal case (Crim Dkt. Doc. #264). As the

Government’s response to that motion pointed out, they are staged photographs taken with a

contraband cellphone showing Samsel on a yoga mat (not his bed) in a broom closet (not his cell)

sitting next to a mop bucket available for use by inmates on his floor (not a toilet), while wearing

his BOP issued boxer shorts (having apparently removed his BOP-issued clothing). Crim. Dkt.

Doc. #266 at 4-7.).

   Samsel Also Lied About What Occurred on January 6

   In addition to advocating for violence, and trying to paint himself as a patriot, hero and victim,
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Samsel’s post-January 6 th statements consist of a series of lies about what occurred on January 6:

        o In one interview, Samsel falsely asserted that “…I pushed on a gate and that’s all I did.”

           Gov. Exh. 503 at 1:17 to 1:30. As detailed above, Samsel did much more than just push on

           a gate, and in fact committed multiple assaults/attacks against police officers, including

           with dangerous weapons.

        o Samsel told bloggers that Ray Epps told him to push the fence into the USCP Officers.

           Gov. Exh. 504 at 23:23 to 23:40; Gov. Exh. 506 at 13:25-13:40; Gov. Exh. 508 at 18:36 to

           19:07. Gov. Exh. 509 at 27:30 to 28:00. However, Samsel told the FBI that Epps told him

           (Samsel) to calm down, and that Epps tried to defuse the situation. Gov. Exh. 501 at 30:17

           – 30:30 (“He [Epps] came up to me and he says, “Dude… relax… the cops are doing their

           job.’ That’s exactly what he says to me ….”)

        Samsel also pushed a false narrative that he actually helped the police at the Capitol on January

6 th:

               o Samsel lied and told one blogger about a “gentleman” dressed all in black with a

                   face mask who went over to Officer C.E. “I didn’t know what he [‘gentleman’] was

                   going to do, but I wasn’t going to let him put his hands on that female cop.” Gov.

                   Exh. 506 at 13:59-14:14. This falsely implies that Samsel was not part of the assault

                   on Officer C.E. and/or that he tried to stop the assault against her.

               o Samsel similarly lied to another blogger when he told the blogger that he (Samsel)

                   “pushed that guy out of my way,” so he could “go help the female cop,” who later

                   vouched for him and told others, “he [Samsel] did nothing.” Id. Officer C.E. did


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                 not vouch for Samsel or indicate that he did nothing while at the Capitol. Every

                 piece of video evidence reflects that he was an active participate in her assault.

             o Samsel lied and said that he noticed that “the lady cop” had dropped her radio and

                 hat, and he returned them to her. Id. at 14:30-14:40. See also Gov. Exh. 508 at 20:30

                 to 20:57 (Samsel alleges that he picked up a radio and hat and returned it to a female

                 officer.) As noted above, another rioter returned Officer C.E.’s hat, and Officer C.E.

                 did not lose her radio.

     Samsel falsely told a blogger that the “guy on my right” pushed the gate into the female. Gov.

Exh. 509 at 27:54 to 28:01. This statement misleadingly suggests that Samsel played no role in the

assault on Officer C.E.

     •    Samsel also lied and asserted to a different blogger, “I never used a weapon or attacked a

          cop. Ever.” Gov. Exh. 506 at 14:55 to 15:05. He also told bloggers that he and others just

          wanted to “go on the lawn.” Id. at 26:00. See also Gov. Exh. 508.

     •    Samsel lied and told another interviewer that the Capitol “wasn’t closed that day. It really

          wasn’t.” Gov. Exh. 509 at 26:50 to 27:00. As detailed above, the Capitol was closed to the

          public on January 6, as indicated by the restricted perimeter (signified by bike racks and

          fencing with Area Closed signs) that Samsel had to disassemble and attack officers with in

          order to enter restricted Capitol grounds. 11

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11 The Government has attached additional recent jail calls where Samsel continues to threaten

violence, tell lies and evince complete disrespect for the judicial process. See Gov. Exh, 1305.
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                              Samsel’s Additional Criminal Conduct

          On January 30, 2021, Agents seized electronic devices pursuant to a warrant in this case.

In downloading one of the devices, which belonged to Genco, agents found multiple images and

videos of Samsel possessing and shooting a gun, despite his status as a felon and being on parole:




          Gov. Exhibit 1306 – Samsel posing              Gov. Exh. 1307 – Samsel shooting a gun
          with a gun

   III.      THE CHARGES AND CONVICTION

          On February 15, 2023, a federal grand jury returned the fourth superseding indictment

charging Samsel with 12 counts, Count One, Obstructing, Impeding, or Interfering with Law

Enforcement During a Civil Disorder, 18 U.S.C. § 231(a)(3) (Conduct at the Peace Circle); Count

Two, Assaulting, Resisting or Impeding Certain Officers Using a Deadly or Dangerous Weapon

and Inflicting Bodily Injury, 18 U.S.C. §§ 111(a)(1) and (b) (Off. C.E.); Count Three, Assaulting,

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Resisting or Impeding Certain Officers Using a Deadly or Dangerous Weapon and Inflicting

Bodily Injury, 18 U.S.C. §§ 111(a)(1) and (b) (Off. D.C.); Counts Five through Seven, 18 U.S.C.

§§ 1752(a)(1), 1752(a)(2), 1752(a)(4), 1752(b)(1)(A), 1752(b)(1)(B), and 2, Entering and

Remaining, Disorderly and Disruptive Conduct, and Engaging in Physical Violence on Restricted

Grounds with a Deadly or Dangerous Weapon; Count Eight, Disorderly or Disruptive Conduct on

Capitol Grounds, 40 U.S.C. § 5104(e)(2)(D); Count Nine, Act of Physical Violence on Capitol

Grounds, 40 U.S.C. § 5104(e)(2)(F); Count Ten, Obstruction of an Official Proceeding Before

Congress, and Aiding and Abetting, 18 U.S.C. §§ 1512(c)(2), 2; Count Eleven, Obstructing,

Impeding, or Interfering with a Law Enforcement Officer During a Civil Disorder, 18 U.S.C. §

231(a)(3) (Conduct on the West Front against USCP); Count Twelve, Assaulting, Resisting, or

Impeding Certain Officers, 18 U.S.C. § 111(a)(1) (Grabbing USCP Officer’s Shield); and Count

Thirteen, 18 U.S.C. §§ 111(a)(1) and (b), Assaulting, Resisting or Impeding Certain Officers Using

a Dangerous Weapon (Throwing Plank of Wood at Metropolitan Police Department Officers). On,

February 2, 2024, Samsel was convicted of Counts One, Two, Eight, Nine, Ten, Eleven, Twelve,

and Thirteen after a bench trial. 12

   IV.      STATUTORY PENALTIES

         Samsel now faces sentencing on:



12 Samsel was found not guilty of Count Three (the assault of Officer D.C. with a dangerous

weapon); three counts related to Samsel’s conduct being on restricted grounds: Count Five
(entering and remaining in a restricted building or grounds with a dangerous weapon); Count Six
(disorderly and disruptive conduct in a restricted building or grounds with a deadly or dangerous
weapon); and Count Seven (engaging in physical violence in a restricted building or grounds with
a deadly or dangerous weapon, resulting in significant bodily injury, and aiding and abetting). See
ECF 337 (Court Verdict).
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        -   Count One, Obstructing, Impeding, or Interfering with Law Enforcement During a
            Civil Disorder, 18 U.S.C. § 231(a)(3) (Obstruction of Officers C.E. and D.C. and other
            USCP officers);
        -   Count Two, Assaulting, Resisting or Impeding Certain Officers Using a Deadly or
            Dangerous Weapon and Inflicting Bodily Injury, 18 U.S.C. §§ 111(a)(1) and (b),
            (Assault of Officer C.E. with a metal crowd control barrier);
        -   Count Eight, 40 U.S.C. § 5104(e)(2)(D), disorderly or disruptive conduct in the Capitol
            building or grounds;
        -   Count Nine, 40 U.S.C. § 5104(e)(2)(F ), Act of Physical Violence in a Capitol Building
            or Grounds;
        -   Count Eleven, 18 U.S.C. § 231(a)(3), Obstructing, Impeding, or Interfering with a Law
            Enforcement Officer During a Civil Disorder (Conduct on the West Front against
            USCP);
        -   Count Twelve, 18 U.S.C. § 111(a)(1), Assaulting, Resisting, or Impeding Certain
            Officers (Grabbing USCP Capitol Police Officer’s Shield); and
        -   Count Thirteen, 18 U.S.C. §§ 111(a)(1) and (b), Assaulting, Resisting or Impeding
            Certain Officers Using a Dangerous Weapon (Throwing Plank of Wood at MPD
            Officers). 13

        Samsel faces up to 5 years of imprisonment for Counts One and Eleven, 20 years of

imprisonment under Counts Two and Thirteen, and 8 years of imprisonment under Count Twelve,

and a term of supervised release of not more than three years, a fine up to $250,000, restitution,

and mandatory special assessments of $100 for each felony conviction and $10 for each Class B

misdemeanor. Samsel also faces up to 6 months of imprisonment for Counts Eight and Nine. ECF

Dkt 451 (PSR at ¶¶ 163-166).

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

   As the Supreme Court has instructed, the Court “should begin all sentencing proceedings by

correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49




13 On August 23, 2024, the Government moved to dismiss Samsel’s 18 U.S.C. § 1512(c)(2)

conviction. See ECF 392. On September 3, 2024, the Court granted the Government’s motion to
dismiss the Section 1512(c)(2) conviction.
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(2007). Aside from a minor disagreement on grouping detailed in a footnote below, the

Government agrees with the PSR calculations. The Government’s Guideline Calculation is as

follows:

       Count One: 18 U.S.C. § 231(a)(3) (Obstructing USCP Officers at the Peace Circle) 14

       U.S.S.G. § 2A2.2(a) 15                  Base Offense Level                      14
       U.S.S.G. § 2A2.2(b)(2)(B)               Dangerous Weapon                        +4
       U.S.S.G. § 2A2.2(b)(3)                  Serious Bodily Injury                   +5


14 As detailed above, Samsel obstructed, impeded, and interfered with USCP officers at the Peace

Circle in multiple ways. For instance, he was the first rioter to open a section of the first metal bike
rack barricade, creating the very first breach of the restricted perimeter on January 6 and allowing
thousands of protestors to flood in behind him, then outnumbering and overwhelming the five
officers who were manning the second barricade. Samsel also shouted at officers and began to
forcibly push and pull on the second barricade, while Officer D.C. held onto the barricade and
gave verbal warnings. Samsel then joined Randolph in lifting the metal barricade (a dangerous
weapon) off the ground, and striking Officer C.E. in the face with it, causing her to hit her head on
the metal handrail and steps and get knocked unconscious and suffer long-term, adverse health
consequences (serious bodily injury as explained further below). Once over the second set of
barricades, Samsel continued to ignore USCP officers’ attempts to put the barricade back up and
their orders to “get back,” and instead Samsel stepped around the barricade and grabbed an
officer’s arm, shoved it down, and told the officer, “I saved you’all.” Samsel then proceeded to
charge towards the Capitol building on the Pennsylvania Walkway to the West Front.
15 Because no applicable Chapter Two Guideline exists in the Statutory Appendix for this offense,

“the most analogous guideline” should be used. U.S.S.G. § 2X5.1. Here, the most analogous
guideline for 18 U.S.C. § 231(a)(3), Obstructing Officers During a Civil Disorder, is U.S.S.G.
§2A2.4, “Obstructing or Impeding Officers.” The cross-reference in U.S.S.G. § 2A2.4(c)(1),
directs that § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated assault.
The commentary to § 2A2.2 defines aggravated assault as “a felonious assault that involved (A) a
dangerous weapon with intent to cause bodily injury (i.e., not merely to frighten) with that weapon;
(B) serious bodily injury; …or (D) an intent to commit another felony.” U.S.S.G. § 2A2.2, cmt.,
n.1. Here, the conduct includes the felonious (punishable by up to 20 years’ incarceration pursuant
to 18 U.S.C. § 111(b)) assault of Officer C.E., which involved a dangerous weapon with intent to
cause bodily injury (Samsel and Randolph striking Officer C.E. in the face with a heavy, metal
bike rack barricade); serious bodily injury to Officer C.E., as discussed further below; and an intent
to commit another felony aside from the assault (Obstructing Officers During a Civil Disorder, in
violation of 18 U.S.C. § 231(a)(3)). Accordingly, the aggravated assault cross reference applies
and § 2A2.2 is the correct guideline.
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       U.S.S.G. § 3A1.2(b)                    Official Victim                       +6

                                                                      Total         29

       Count Two: 18 U.S.C. § 111(b) (Assault of Officer C.E. with the Metal Barricade)

       U.S.S.G. § 2A2.2(a) 16                 Base Offense Level                    14
       U.S.S.G. § 2A2.2(b)(3)(B) 17           Serious Bodily Injury                 +5
       U.S.S.G. § 2A2.2(b)(2)(B)              Dangerous Weapon                      +4
       U.S.S.G. § 2A2.2(b)(7)                 §111(b) Conviction                    +2
       U.S.S.G. § 3A1.2(b)                    Official Victim                       +6

                                                                      Total         31




16 As discussed above, the cross-reference in U.S.S.G. § 2A2.4(c)(1) directs that § 2A2.2
(Aggravated Assault) be applied if the conduct constituted aggravated assault, and the assault of
Officer C.E. here qualifies as aggravated assault. See also United States v. Stevens, 105 F.4th 473,
474–75, 480–81 (D.C. Cir. 2024) (finding that 18 U.S.C. § 231 is “another felony” for purposes
of applying the cross-reference to § 2A2.2 and affirming application of the § 2A2.2 guideline to a
rioter’s assault where he acted “with intent to commit civil disorder under Section 231(a)(3).”).
17 The commentary to U.S.S.G. § 1B1.1 defines serious bodily injury as any “injury involving

extreme physical pain or the protracted impairment of a function of a bodily member, organ, or
mental faculty; or requiring medical intervention such as surgery, hospitalization, or physical
rehabilitation.” to U.S.S.G. § 1B1.1, cmt., n.1(M). As detailed above, Samsel joined Randolph in
lifting a metal bike rack barricade (weighing between 25 and 50 pounds) off the ground, and
together they drove the metal bike rack barricade into Officer C.E., striking her in the face with
the bike rack. The force threw her back and caused her to slam her head twice: first against a metal
handrail, then against the steps. She lost consciousness and suffered a concussion, and later passed
out a second time and was transported by ambulance to the hospital. She then felt “excruciating”
pain for several weeks and underwent physical therapy; took over three months to regain her
balance and ability to drive a car; was forced to stay on desk duty for a year and a half; suffered
another episode in November 2021 where she again lost consciousness and was taken to the
hospital by ambulance; and to this day remains on medication for her head injury and gets regular
migraines (approximately one to four or five migraines a month).
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       Count Eleven: 18 U.S.C. § 231(a)(3) (Obstructing USCP Officers at the West Front) 18

       U.S.S.G. § 2A2.2(a) 19                 Base Offense Level                     14
       U.S.S.G. § 3A1.2(b)                    Official Victim                        +6

                                                                     Total           20

       Count Twelve: 18 U.S.C. § 111(a)(1) (Grabbing USCP Officer’s Shield) 20

       U.S.S.G. § 2A2.2                       Base Offense Level                     14
       U.S.S.G. § 3A1.2(b)                    Official Victim                        +6

                                                                     Total           20
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18 As detailed above, Samsel obstructed, impeded, and interfered with officers on the West Front

in multiple ways. For instance, Samsel grabbed one officer’s shield, pulling the shield so hard that
the hard plastic folded; he then pushed into another officer; he also waved his large Rambo Trump
Flag at officers, both lowering the flag so that the cloth part of the flag would cover officers’
helmets and impede their view and choking up on the pole part of the flag like a baseball bat acting
as though he planned to take a swing at officers and he tore the protective tarp covering the
scaffolding erected for the Jan. 20, 2021 inauguration.
19 As noted for Samsel’s conduct on the West Front, the cross-reference in U.S.S.G. § 2A2.4(c)(1)

directs that § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated assault.
Here, Samsel forcefully grabbing and trying to wrestle away an officer’s riot shield – pulling it so
hard that the shield’s hard plastic folded – is also an aggravated assault. The attack is a felonious
assault, punishable by up to 8 years’ incarceration, pursuant to 18 U.S.C. § 111(a)(1), because it
involved physical contact and the intent to commit another felony (Obstructing Officers During a
Civil Disorder, pursuant to 18 U.S.C. § 231(a)(3)). A felonious assault involving an intent to
commit another felony aside from the assault is an “aggravated assault” pursuant to U.S.S.G. §
2A2.2, cmt., n.1.
20 As discussed above, the cross-reference in U.S.S.G. § 2A2.4(c)(1) directs that § 2A2.2

(Aggravated Assault) be applied if the conduct constituted aggravated assault, and Samsel
forcefully grabbing an officer’s shield qualifies as aggravated assault. See also United States v.
Sargent, 103 F.4th 820, 825, 829–30 (D.C. Cir. 2024) (rejecting that defendant’s argument that an
“aggravated assault” is limited to offenses involving dangerous weapons or bodily injury and
applying the cross reference to § 2A2.2 where the rioter smacked an officer and had the intent to
commit civil unrest).

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       Count Thirteen: 18 U.S.C. § 111(b) (Throwing Plank of Wood at Officers)

       U.S.S.G. § 2A2.2(a) 21                Base Offense Level                    14
       U.S.S.G. § 2A2.2(b)(2)(B)             Dangerous Weapon                      +4
       U.S.S.G. § 2A2.2(b)(7)                §111(b) Conviction                    +2
       U.S.S.G. § 3A1.2(b)                   Official Victim                       +6

                                                                   Total           26

       Counts Eight and Nine: 40 U.S.C. §§ 5104(e)(2)(D) and 5104(e)(2)(F)

       Because these offenses are Class B misdemeanors, the Guidelines do not apply to them.
       See 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

                                       Grouping Analysis

       Pursuant to U.S.S.G. § 3D1.2, closely related counts group:

       Group One consists of Count One (obstructing USCP Officers at the Peace Circle,

including Sgt. T.L. and Officers C.E and D.C.) and Count Two (the assault of Officer C.E. with a

metal bike rack barricade). Counts One and Two do not group under either U.S.S.G. § 3D1.2(a)

or § 3D1.2(b) because Counts One and Two do not involve “the same victim,” as required for

either provision to apply; 22 however, pursuant to U.S.S.G. § 3D1.2(c), the Count Two assault with


21 As noted above, the cross-reference in U.S.S.G. § 2A2.4(c)(1) directs that § 2A2.2 (Aggravated

Assault) be applied if the conduct constituted aggravated assault. Here, Samsel hurling a wooden
plank at a lone of MPD officers, causing one to duck, is also an aggravated assault. The attack is
a felonious assault, punishable by up to 20 years’ incarceration, pursuant to 18 U.S.C. § 111(b),
because it involved a dangerous weapon (a wooden 2x4 plank, thrown to hurt the MPD officers).
Additionally, the assault involved the intent to commit another felony (Obstructing Officers
During a Civil Disorder, pursuant to 18 U.S.C. § 231(a)(3)). As previously noted, a felonious
assault involving either a dangerous weapon with intent to cause bodily injury or an intent to
commit another felony is an “aggravated assault” pursuant to U.S.S.G. § 2A2.2, cmt., n.1.
22 Officer C.E. is the sole victim in Count Two, but as identified in the Fourth Superseding

Indictment and the Court’s Findings of Fact and Conclusions of Law, Samsel’s victims for Count
One—the officers that Samsel obstructed, impeded, or interfered with in overrunning the police
line near the Peace Circle—included Sgt. T.L., Officer D.C., and “other officers who formed the
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a dangerous weapon/causing serious bodily injury “embodies conduct that is treated as a specific

offense characteristic” applicable to the Count One obstruction offense, specifically, the

enhancements for use of a dangerous weapon and causing serious bodily injury. Accordingly,

Counts One and Two group. Pursuant to U.S.S.G. § 3D1.3(a), the offense level applicable to

Group 1 is the offense level “for the most serious of the counts comprising the Group, i.e., the

highest offense level of the counts in the Group.” The highest offense level for this group is the

offense level for Count Two: 31.

       Group Two consists of Count Eleven, which has a unique victim (various U.S. Capitol

Police Officers on the West Front, including the officer with the riot shield Samsel attempted to

grab and the other officer that he pushed into) and no specific offense characteristics or other

adjustments based on the conduct in another count. The offense level for this group is 20.

       Group Three consist of Count Twelve, which similarly has a unique victim (only the officer

with the riot shield Samsel attempted to grab) and no specific offense characteristics or other

adjustments based on the conduct in another count. The offense level for this group is also 20. 23

       Group Four consists of Count Thirteen because it involves another unique victim—officers

from MPD, and no specific offense characteristics or other adjustments based on the conduct in

another count. The offense level for this group is 26.




police line at the second barricade.” ECF No. 345 at 15; ECF No. 245 at 2.
23 The PSR groups Counts 11 and 12 “because they involve the same victim [USCP Officers

guarding the West Plaza] and two or more acts or transactions connected by a common criminal
objective or constituting part of a common scheme or plan” under USSG § 3D1.2(b). ECF 451
(PSR at ¶ 82). Although the Government groups these two offenses separately, this difference
drops out after the grouping analysis, as detailed below.
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           Counts Eight and Nine are not grouped, because the Guidelines do not apply to them.

           Accordingly, there are four Groups:

           Group 1 (Offense Level 31):
      •    Count One: 18 U.S.C. § 231(a)(3) (Obstructing USCP Officers at the Peace Circle,
           including Officers C.E. and D.C.) :                          Offense Level (OL) 29
      •    Count Two: 18 U.S.C. § 111(b) (Assault of Ofc. C.E. with Metal Bike Rack): OL 31

           Group 2 (Offense Level 20):
      •    Count Eleven: 18 U.S.C. § 231(a)(3) (Obstructing West Front USCP Officers):         OL 20

           Group 3 (Offense Level 20):
      •    Count Twelve: 18 U.S.C. § 111(a)(1) (Grabbing USCP Officer’s Shield):               OL 20

           Group 4 (Offense Level 26):
      •    Count Thirteen: 18 U.S.C. § 111(b) (Throwing Plank of Wood at MPD Officers): OL 26

           Group One has the highest offense level, 31, and so receives one unit pursuant to U.S.S.G.

§ 3D1.4(a). Group Four is within five levels of Group One, so it counts as one half unit, pursuant

to U.S.S.G. § 3D1.4(b). Groups Two and Three are 11 levels below Group One, so they do not

factor into the grouping analysis. See U.S.S.G. § 3D1.4(c). One and a half units results in a one-

level increase in offense level, pursuant to U.S.S.G. § 3D1.4, and a Combined Offense Level of

32.

           Based upon a total offense level of 32 and a criminal history category of VI, the Guideline

imprisonment range is 210 months to 262 months. The maximum sentence which may be imposed

on Counts 1 and 11 is 60 months/count (5 years/count). The maximum sentence which may be

imposed on Counts 2 and 13 is 240 months/count (20 years/count). The maximum sentence which

may be imposed on Count 12 is 96 months (8 years). ECF Dkt. 451 (PSR at ¶ 167).



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                                        Guidelines Range

       The U.S. Probation Office calculated the Samsel’s criminal history as category VI, which

is not disputed. ECF 451 (PSR ¶ 125). 24 Accordingly, based on the government’s and the PSR’s

calculations of Samsel’s combined offense level as 32, Samsel’s Guidelines imprisonment range

is 210-262 months’ imprisonment. The PSR contains the same estimated Guidelines range. ECF

451 (PSR ¶ 167).

                                Other Guidelines Considerations

   After determining Samsel’s Guidelines range, the Court then considers any departures or

variances. See U.S.S.G. § 1B1.1(a)-(c). Samsel’s Guidelines range does not capture the

unprecedented and uniquely harmful nature of Samsel’s crimes, which struck at the heart of our

democracy and the rule of law. Moreover, the following information and argument make it clear

that – while the government is not advocating for such variance or departure – a Guidelines

sentence here is not only reasonable, but fully balances Samsel’s conduct and the circumstances

in which he committed said conduct. One cannot divorce the gravity of the overall threat to

democracy from Samsel’s assaultive behavior.

       Indeed, as it stands now, nothing in this defendant’s guidelines calculation reflects the fact

that the defendant was responsible for substantial interference with Congress’ work to peacefully

transfer power from one administration to the next.25 There are no specific offense characteristics



24 The zero-point offender reduction does not apply here because (1) Samsel has a significant

criminal history, in contravention of 18 U.S.C. § 4C1.1(a)(1); and (2) Samsel used both violence
and credible threats of violence in connection with the instant offenses, in contravention of 18
U.S.C. § 4C1.1(a)(3).
25 The D.C. Circuit’s holding in United States v. Brock, 94 F.4th 39 (D.C. Cir. 2024), finding that

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here for attacking democracy or abandoning the rule of law. Thus, a sentence in the defendant’s

guidelines range properly ““reflect[s] the seriousness of the offense,” “promote[s] respect for the

law,” and “provide[s] just punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).

       It is not hyperbole to call what happened on January 6 a crime of historic magnitude. As

judges of this district have repeatedly and clearly stated, January 6 was an unprecedented

disruption of the nation’s most sacred function—conducing the peaceful transfer of power “The

events that occurred at the Capitol on January 6th will be in the history books that our children

read, our children’s children read and their children’s children read. It's part of the history of this

nation, and it’s a stain on the history of this nation.” United States v. Miller, 21-CR-75-RDM, Sent.

Tr., at 67. But just as the history books will describe the crimes of January 6, so will they tell the

story of how this nation responded. Future generations will rightly ask what this generation did to

prevent another such attack from occurring. The damage done to this country on January 6 must

be reflected in the sentences imposed on those who caused the damage—it must not be treated as

just another crime.

       Even before Fischer, judges of this Court gave significant upward departures and/or

variances in January 6 cases when they found the advisory guideline range inadequate. See, e.g.,




certain sentencing enhancements did not apply to the Congress’s counting and certification of the
electoral college votes, despite acknowledging that interference with this process “no doubt
endanger[ed] our democratic process and temporarily derail[ed] Congress’s constitutional work”
demonstrates that the Sentencing Commission failed to anticipate anything like the January 6 riot
when drafting the Guidelines. And the Supreme Court’s recent decision in United States v. Fischer,
-- S.Ct. -- (2024) demonstrates that even the criminal code lacks the appropriate tools to fully
address the crimes of January 6. See Fischer, slip op. at 29 (Barrett, J., dissenting) (“Who could
blame Congress for [its] failure of imagination?”).
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United States v. Hale-Cusanelli, 21-CR-37-TNM, 9/22/22 Sent. Tr.; United States v. Christian

Secor, 21-CR-157-TNM, 10/19/22 Sent. Tr.; United States v. Hunter and Kevin Seefried, 21-CR-

287-TNM. 10/24/22 Sent. Tr.; United States v. William Watson, 21-CR-513-RBW, 3/9/23 Sent.

Tr.; United States v. Riley Williams, 21-CR-618-ABJ, 3/23/23 Sent. Tr.; United States v. Hatchet

Speed, 22-CR-244-TNM, 5/8/23 Sent. Tr.

       Since Fischer, judges have similarly sentenced defendants to account for the disparity

between the guidelines and the actual context. For example, in United States v. Sparks, 21-cr-87-

TJK, Judge Kelly sentenced a defendant with an advisory guidelines range of 15-21 months to 53

months’ imprisonment. In doing so, the Court applied U.S.S.G. §§ 5K2.7 and 5K2.21, and noted

that the jury had found that the defendant had the corrupt intent to interfere with Congress. Because

Sparks’ advisory guideline range was driven by the § 231 conviction, that range did not “account

for the defendant’s intent to obstruct, not just law enforcement officers doing their duty under that

statute, but a proceeding, or for the purposes of [U.S.S.G. §] 5K2.7, a governmental function.

Sentencing Tr., at 94-95. And not any proceeding, but one foundational to our country’s

governance.” Id. at 93. The court found Sparks’ intent to “interfere or obstruct with the electoral

college vote certification . . . plays an important role in explaining why” Sparks’ advisory guideline

range did not fully account for his criminal conduct. Id. at 94.

       Other judges have recognized this disparity too. See United States v. Robertson, 21-cr-34-

CRC (imposing an upward departure because the conduct resulted in a significant disruption of

government); United States v. Dunfee, 23-cr-36-RBW (imposing an upward departure because the

guidelines no longer adequately captured the defendant’s intent to stop the peaceful transfer of


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power). While the Supreme Court’s decision in Fischer has changed defendant’s advisory

Guideline range, “Fischer does not dictate the Court’s application of the 18 U.S.C. 3553(a) factors

[because] the Court may still consider [defendant’s] serious conduct on January 6 th, 2021 in its

entirety. To reduce [defendant’s] sentence . . . would require this Court to take a drastically

different view of [defendant’s] conduct.” United States v. Hostetter, 21-CR-392-RCL, ECF 507,

at 4-5 (cleaned up). Indeed, “Fischer does not mean that I cannot consider at sentencing evidence

that establishes that the defendant intended to obstruct Congress’ certification of the electoral vote

in determining whether . . . the resulting guideline range fully accounts for the criminal conduct.”

Sparks Sentencing Tr. at 95. See also United States v. Kelly, 21-CR-708-RCL, ECF 151, at 5

(“Nothing about Fischer or any hypothetical outcome of [defendant’s] appeal bears directly on the

severity of his conduct on January 6th . . . . Likewise, the outcome in Fischer would not dictate

the Court’s application of the sentencing factors prescribed in 18 U.S.C. § 3553(a)”); United States

v. Jensen, 21-CR-6-TJK, Sent. Tr. at 16 (“given the importance and the significance of the

proceeding of certifying the Electoral College votes, I would vary upward -- even if this

[sentencing enhancement] didn't apply, I would vary upward when considering the nature of the

offense.”); United States v. Tuck, 21-CR-378-TJK (Jan. 8, 2025 Sentencing) (upward variance

applied where guideline calculation did not fully account for the criminal conduct).

         To be clear, the fact that the government is not seeking a variance or departure does not

diminish the gravity of our request and the need to appropriately account for the conduct and the

crime.




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   VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

         A.     Nature and Circumstances of the Offense

         As shown in Section II(B) of this memorandum, Samsel’s felonious conduct on January 6,

2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis. Samsel was the first rioter to breach the restricted perimeter,

opening the floodgates for the thousands of rioters that followed. Samsel also played a key role in

the very first act of violence against the police, seriously injuring a USCP Officer. Samsel wreaked

havoc on Capitol Grounds for at least an hour and a half, engaging in multiple acts of violence

against USCP officers and the MPD officers called to the Capitol as reinforcements, and bragged

about his experience at every opportunity thereafter. The nature and circumstances of Samsel’s

offenses were of the utmost seriousness, and fully support the government’s recommended

sentence of 240 months of incarceration.

         B. The History and Characteristics of the Defendant

         Samsel is 41 years old. Before his detention in this case, Samsel lived in the Philadelphia

suburbs. He has a sporadic employment history, most recently as a barber, for approximately two

years, before his license was suspended. ECF 451 (PSR at ¶ 155).

         Samsel has an extensive and ever-escalating criminal history of violence, largely against

women. It includes an arrest on October 4, 2003 for possessing an instrument of crime and


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disorderly conduct with an offensive weapon after Samsel swung a knife and yelled obscenities at

medical staff responding to a medical call, for which he was sentenced to one year of probation.

ECF 451 (PSR ¶ 114). That was followed by an arrest on May 9, 2006 for terroristic threats,

reckless endangerment of another, and disorderly conduct. Id. at ¶ 115. The May 2006 arrest

occurred because Samsel tried to run someone off the road over a $60 debt. He forced the victim

to pull over, approached her vehicle and punched her windshield, telling her he knew where she

lived and would kill her if he didn’t get his money. On August 2, 2006, he was sentenced to two

years’ probation. Id.

       Before resolving his May 9 arrest, however, on July 25, 2006, Samsel was arrested for

possession of marijuana and drug paraphernalia. ECF 451 (PSR ¶ 116). He was convicted for the

marijuana offense on February 28, 2007, and sentenced to a year of probation. Id.

       While apparently still subject to that term of probation, Samsel was arrested on November

16, 2006, for trespass for walking onto a fenced-in area demarcating private property to smoke

marijuana. On February 28, 2007, he received a sentence of confinement for 1-18 months with

immediate parole, which was revoked on July 29, 2009. ECF 451 (PSR ¶ 117).

       On June 29, 2007, Samsel was arrested for simple assault and disorderly conduct. ECF 451

(PSR ¶ 118). In this case, Samsel got into another man’s car and began hitting him in the face.

Someone called an ambulance for the man, who was badly beaten; the police observed his front

teeth were missing and his face was bloody. This assault resulted in a November 15, 2007 sentence

to two years of probation. 26



26 Samsel claimed that he actually assaulted this victim twice, stating that he kicked in the victim’s

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       On February 28, 2009, Samsel was arrested for simple assault and recklessly endangering

another person. ECF 451 (PSR ¶ 119). In this case, Samsel convinced the victim (his ex-girlfriend)

to come to his residence to receive money for a debt. For approximately four to five hours, Samsel

held the victim at his residence where he repeatedly punched, pushed, and choked her, and caused

injuries, including chipped teeth and swelling and discoloration to the head, face, hip, neck and

thigh. On July 27, 2009, Samsel was sentenced to two years’ probation, which was revoked two

years later and replaced with a sentence of confinement for 1-2 years.

       On July 5, 2010, Samsel was arrested for simple assault, recklessly endangering another

person, unlawful restraint/serious bodily injury, disorderly conduct/engaging in fighting and

harassment, ECF 451 (PSR ¶ 120), for smashing a hot pizza into his pregnant girlfriend’s face,

beating her, pouring a beer over her head, and eventually throwing her into a canal, which he then

jumped into, so he could hold her head under water. When Samsel finally stopped holding her, the

victim ran into the street barefoot and found a police vehicle. She desperately tried to open the

door of the vehicle until the officer saw her and unlocked it, so she could get in. According to the

victim, if it weren’t for the officer, “I might not be alive.” On July 5, 2011, Samsel was convicted

and sentenced to 1 to 5 years in prison.

       A few months later, on October 14, 2010, Samsel was arrested for conspiracy to intimidate

a witness/victim false testimony, and terroristic threats with intent to terrorize against the same

victim. ECF 451 (PSR ¶ 121). Samsel later attempted to and did interfere with her testimony about




front door and punched him in the face. According to the defendant, a scar on his hand is from this
victim’s teeth.
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what had occurred. Specifically, Samsel called the victim’s sister multiple times to get the victim

not to appear in court, and, if she did appear, minimize his conduct by saying that nothing

happened, that she had embellished her story, and that her prior statements were wrong. He was

convicted on July 5, 2011, and sentenced to confinement for 4-10 years, followed by parole.

Samsel was on parole for this matter when he was arrested in this case.

       In December 2015, soon after his release on parole, Samsel was again arrested for assault

and harassment. ECF 451 (PSR ¶ 122). This time, the victim reported numerous assaults by

Samsel, including one at Samsel’s residence where he choked the victim until the victim lost

consciousness. Four days before this incident, Samsel had choked the victim from behind with his

forearm. On yet another occasion, Samsel punched the victim in the face, causing a black eye, then

demanded that she provide a false explanation for the injury. The victim was able to produce a

photograph of the injury and a text message from Samsel with the false cover story. Samsel was

convicted for simple assault and harassment-subject other to physical contact, and on February 17,

2017 he received a sentence of confinement for 6-12 months with supervision until February 24,

2022. Samsel was also on parole for this matter when he was arrested in this case. 27

       On February 2, 2021, the Pennsylvania Parole Board lodged a detainer against Samsel for

violation of Parole for both the 2010 and 2015 convictions. ECF 451 (PSR ¶¶ 121, 122).




27 Samsel also has an outstanding warrant from 2019 for additional felony domestic violence

assaults.
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        C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

        As with the nature and circumstances of the offense, this factor supports a sentence of

lengthy incarceration. Samsel’s criminal conduct on January 6 was the epitome of disrespect for

the law. United States v. Cronin, 22-cr-233-ABJ, Tr. 06/09/23 at 20 (“We cannot ever act as if this

was simply a political protest, simply an episode of trespassing in a federal building. What this

was was an attack on our democracy itself and an attack on the singular aspect of democracy that

makes America America, and that's the peaceful transfer of power.”) Samsel’s role in this attack

cannot be overstated. He lit the match when he broke down that first barricade and then shoved

into the first line of officers. He and his co-defendants took the first steps to turn the protest into a

criminal, violent riot, which eventually halted the certification of the electoral college certification,

and injured numerous police officers.

        As discussed above, Samsel has repeatedly alleged that his medical needs were not being

met while incarcerated. This Court reviewed multiple motions and status reports, held multiple

hearings, and ultimately issued multiple orders addressing Samsel’s health concerns. Each time,

the Court remanded Samsel to the care of the Bureau of Prisons (BOP). See, e.g., ECF Dkt entries

on 04/27/22, 05/17/22, 05/18/22, 05/31/22, 07/28/22, 10/03/22, 01/30/23, 10/02/23. This Court is

not alone. On September 20, 2022, the Court of Appeals denied Samsel’s interlocutory appeal.

ECF Dkt. 196. In July 2024, Samsel made similar medical claims in civil filings in the Eastern

District of New York. See 24-CV-05026-RPK. That Court denied Samsel’s motion for a

preliminary injunction. ECF Dkt. 14. Every Court to have reviewed Samsel’s medical issues has

concluded that they could be treated within the BOP.

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       D.      The Need for the Sentence to Afford Adequate Deterrence

                                       General Deterrence

       A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 28 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                       Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration.

       First, Samsel has a criminal history replete with violence, and even a prior attempt at using

violence to obstruct proceedings (the witness tampering charge). Samsel has been on an upward

trajectory of ever-escalating violence. Further, he appears to have violated every instance of parole

by committing a new crime. This pattern of behavior must be deterred with a lengthy sentence.

       Second, Samsel has displayed contempt for the Justice System, the BOP, and the Court.

For example, in August 2023, a BOP Disciplinary Hearing Officer issued a report finding that

Samsel possessed and used an unauthorized cell phone in jail for months, which he was using to

make calls to bloggers. ECF Dkt. 266, Exh. 2. Between April 26, 2023, and July 24, 2023, at least

one video interview and 12 audio interviews were posted on-line. ECF Dkt. 266, p. 5, n.1 (listing

the blog posts). During that time, Samsel also posted on his Twitter/X Account. Id. at n.2. Included


28 See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).

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in his posts was this Court’s name and Chambers’ telephone number. Samsel repeatedly exhorted

his readers to flood Chambers with calls. On June 7, 2023, Samsel posted a photo of himself with

his head wrapped in a bandage, along with the text, “Please pass this along to everyone you know

and email this to judge Jia Cobb as she could have prevented this but due to her strong hatred

toward me others have suffered email her her hate has been turned into love [chambers’ email

address omitted].” On June 25, 2023, responding to a post that was later deleted, Samsel stated,

“Please pass this along and i also ask for ppl to show this to judge jia cobb who belives that no

violation took place. Rember i have been denied all medical treatment to this date bc of judge jia

cobb DC district judge.” On July 15, 2023, Samsel posted Chambers’ phone number and a link to

an unauthorized recording of the Court’s January 13, 2023 hearing. Samsel wrote, “I have not

received medical yet please help by calling judge jia cob [sic] at [phone number omitted] in support

of my pretrial release for medical as Americans we are innocent b4 proven guilty by our peers,

Help pass this along J6er Ryan Samsel Speaks At 1-13-23 Hearing.” On August 4, 2023, Samsel

tweeted:

       PLEASE PASS THIS ALONG
       EVERYBODY RYAN SAMSEL ASK FOR THE PUBLIC TO CALL HIS JUDGE
       IN SUPPORT OF MEDICAL HELP PLEASE CALL JUDGE COBB AND
       LEAVE A MSG EVERYDAY PLEASE WE BEG FOR PUBLICS HELP JUDGE
       JIA COBB [phone number omitted] PASS THIS AROUND WE NEED HELP
       THE MORE THE BETTER OF CHANCE.

       Third, Samsel has expressed no remorse for his conduct on January 6, 2021. Instead,

expressing solely pride. For instance, on January 6, 2021, Samsel texted a photo of himself

“br[e]aking though the line”; and also sent messages noting “Dude no shit I started it” and “I broke

through got hit with gas a few times but worth it lol.” Gov. Exs. 1103R and 1103S. Furthermore,

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since January 6 he has continued to advocate for violence, for instance, telling his girlfriend in

May 2022, “…I don’t give a fuck. Next time I see an FBI agent, I’ll punch’em directly in their

goddamn face.” and telling her, “That’s the problem. People like you out there exist. They’re not

aggressive enough ….” Gov. Exh. 502. See also Gov. Exh. 1304 (Samsel threatening to use a

woodchipper to kill politicians.)

       Fourth, to this day, Samsel denies culpability for his actions on January 6. He has instead

doubled down on his false assertions that the Capitol grounds were open; that he is a victim and

hero; and that he helped the officers and did not hurt them. Samsel engaged in multiple assaults at

the Capitol but continues to falsely assert that he committed no violence on that day. Furthermore,

Samsel brutally attacked an officer causing her serious bodily injury and then told the bloggers

and the listening public several preposterous versions of the events in which he alleges that he was

trying to help her. During this most recent presidential election, Samsel instructed Genco to buy

AR-15s and a silencer, so he could “pick people off from far, real far.” He exhorted Genco to go

back and “rush the Capitol. I mean, honestly. Do it again. I don’t give a fuck. I’d say it. Go back.

Do it again. Who gives a fuck? Who cares? Do it every time. Until we get what we want.” This

disturbing behavior indicates that Samsel still believes he is not culpable for his criminal conduct

on January, 6 and as such, he may try to repeat it.

       Lastly, the severity and unique nature of Samsel’s conduct on January 6, 2021 indicates

that a lengthy term of incarceration is necessary to deter him from such behavior in the future.

Samsel was both the first rioter to breach the perimeter and one of a handful of rioters to engage

in the very first assaults against officers. After that, he continued to engage in a series of assaults


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and violent conduct over the course of at least an hour and a half. His willingness to be the first to

take such drastic steps and the sheer volume of bad decisions and behaviors suggest that Samsel

needs additional deterrence to keep him from repeating those same mistakes.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct” (emphasis added). So long as the sentencing court “correctly calculate[s]

and carefully review[s] the Guidelines range, [it] necessarily [gives] significant weight and

consideration to the need to avoid unwarranted disparities” because “avoidance of unwarranted


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disparities was clearly considered by the Sentencing Commission when setting the Guidelines

ranges.” Gall v. United States, 552 U.S. 38, 54 (2007).

       Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing. 18

U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in Section

3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the degree of

weight is “firmly committed to the discretion of the sentencing judge.” United States v. Coppola,

671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors means

that “different district courts may have distinct sentencing philosophies and may emphasize and

weigh the individual § 3553(a) factors differently; and every sentencing decision involves its own

set of facts and circumstances regarding the offense and the offender.” United States v. Gardellini,

545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision

leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 29




29 If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than

overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).

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       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.30

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the conduct in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       David Dempsey was at the U.S. Capitol for over an hour on January 6 th, and pled guilty to

multiple assaults with deadly and dangerous weapons, which caused serious bodily injuries to two

officers in the Lower West Terrace Tunnel. United States v. David Dempsey, 21-cr-566-RCL. Like

Samsel, he suffered from a significant, violent criminal history. Unlike Samsel, Dempsey pled

guilty, accepted responsibility for his violent actions, and did not broadcast lies about January 6th

for years thereafter. The government recommended 262 months, and Judge Lamberth sentenced

Dempsey to 240 months, three years supervised release, and $2,000 in restitution.

       In United States v. Christopher Quaglin, 21-cr-00040-TNM, Quaglin was convicted on

multiple assault counts (three under 111a and three under 111b), along with burglary, civil

disorder, obstruction and 1752 counts, and Judge McFadden sentenced the defendant to 144

months of incarceration followed by two years of supervised release and $2,000 in restitution. The

defendant in Quaglin was in the initial group of rioters who stormed the Capitol at the Peace Circle

and assaulted several officers on the West Front by choking one officer to the ground, and pulling


30 A routinely updated table providing additional information about the sentences imposed on other

Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
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a bike rack away from an officer and then ramming it into a line of more than a dozen officers.

The defendant also attacked officers in the tunnel by pulling a shield away from one officer and

spraying chemical irritants in the officers’ faces. The defendant came prepared for the riot, wearing

tactical gear, and encouraged others. After January 6, he continued to boast and brag about his

conduct, both blaming officers for the riot, while simultaneously taking pride in his actions and

conduct. The Government recommended 168 months’ incarceration, and the Court sentenced him

to 144.

          Similar to the defendant in Quaglin, Samsel initiated the breach onto Capitol grounds and

assaulted USCP officers once arrived at the first manned barricade. Samsel instigated the forcible

pushing and pulling of the bike rack barricade directly across from Officer C.E. and then lifted the

barricade with his codefendants and pushed it into the police line. This conduct is similar to

Quaglin’s conduct at the Peace Circle. Unlike Quaglin however, Samsel’s conduct resulted in the

serious bodily injury of Officer C.E. when he and Randolph forcibly struck her in the face with

the bike rack and caused her to fly backward, strike her jaw on the handrail and the back of her

head on the steps below. Like Quaglin, Samsel continued his assaultive behavior once arrived at

the West Front, yelling at officers, grabbing a riot shield, threatening officers with his flagpole,

and throwing both a 2x4 plank and a metal pole at the police. Also similar to the defendant in

Quaglin, Samsel boasted and bragged about his conduct on January 6 both to his friends over text

and to the public on multiple podcasts. Samsel has yet to express any remorse.




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       Samsel should be facing a higher sentence than Quaglin, because, unlike Samsel, Quaglin

had no criminal history and was in Criminal History Category I. Further, Samsel was the first rioter

to breach the restricted perimeter on January 6 and caused serious bodily injury.

       Another comparator is United States v. Peter Schwartz, 21cr00178-APM. Schwartz came

to Washington, D,C. on January 6 th with a significant violent criminal history. Schwartz escalated

the violence on that day. He threw a chair at the police line on the West Front, creating an opening

in the police line for rioters to flood through, and then used two separate canisters of pepper spray

left behind by fleeing officers to spray, and assist co-defendants in spraying, officers both at the

West Front and again in the Lower West Terrace Tunnel. Schwartz bragged about his role in the

January 6 th riot first texting his friends that he had started a riot and following up with interviews

to bloggers about chronicling his alleged exploits. For his actions, Schwartz was found guilty of

four 111b assault counts, along with obstruction, civil disorder, 1752 charges and misdemeanors,

after a jury trial. The Government recommended 294 months. Judge Mehta sentenced him to 170

months.

       Like Schwartz, Samsel has a significant criminal history, escalated the violence by

breaking through the first barricade, and assaulted law enforcement officers repeatedly throughout

the day with deadly weapons, causing injuries. Also like Schwartz, Samsel has evinced no remorse,

instead bragging to his friends that “Dude no shit I started it;” and then --unrepentant-- announcing

to a blogger that he had “never heard of a non-violent patriot. Sometimes civil disorder is needed.

And I’m sorry I pushed on a gate and that’s all I did.” Not only has Samsel voiced no remorse, he




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has fanned the flames, repeatedly lying to the public about his role and that of the police, feeding

the false narrative about what happened on January 6 th.

       Finally, this Court should consider the sentence it imposed on co-Defendant Stephen

Randolph, 21cr537-JMC. This Court imposed a 96-month sentence for Randolph’s assault on

Officers C.E. and D.C. Samsel’s behavior on January 6 th and thereafter was undoubtedly more

aggravated than Randolph. Randolph was not the first to breach the perimeter and did not continue

his violent and aggressive behavior on the West Front. Further, Randolph has not spouted lies and

disinformation over the last four years. And, finally, Randolph was in criminal history category I,

with a guideline range of 108-135 months, a far cry from Samsel’s category VI and guideline range

of 210 to 262 months.

       RESTITUTION

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291

§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the VWPA).

Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110

Stat. 1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases


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involving a subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The

MVRA applies to certain offenses including those “in which an identifiable victim or victims has

suffered a physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of violence,”

§ 3663A(c)(1)(A)(i), or “an offense against property … including any offense committed by fraud or

deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted). Samsel was convicted of a

violation of an offense under Title 18, so the VWPA does apply.

       The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court “shall”

impose restitution under the MVRA, “may” impose restitution under the VWPA, and “shall” use

the procedures set out in Section 3664).

       Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey v.

United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury. See

Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes,

the government bears the burden by a preponderance of the evidence to establish the amount of

loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

       In deciding whether to impose restitution under the VWPA, the sentencing court must take

account of the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full


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restitution without respect to a defendant’s ability to pay. 31

        Because the defendant in this case engaged in criminal conduct in tandem with hundreds

of other defendants charged in other January 6 cases, and his criminal conduct was a “proximate

cause” of the victims’ losses if not a “cause in fact,” the Court has discretion to apportion restitution

and hold the defendant responsible for his individual contribution to the victims’ total losses. See

Paroline v. United States, 572 U.S. 434, 458 (2014) (holding that in aggregate causation cases, the

sentencing court “should order restitution in an amount that comports with the defendant’s relative

role in the causal process that underlies the victim’s general losses”). See also United States v.

Monzel, 930 F.3d 470, 476-77, 485 (D.C. Cir. 2019) (affirming $7,500 in restitution toward more

than a $3 million total loss, against a defendant who possessed a single pornographic image of the

child victim; the restitution amount was reasonable even though the “government was unable to

offer anything more than ‘speculation’ as to [the defendant’s] individual causal contribution to [the

victim’s] harm”; the sentencing court was not required to “show[] every step of its homework,” or

generate a “formulaic computation,” but simply make a “reasoned judgment.”); cf. 18 U.S.C. §

3664(h) (“If the court finds that more than 1 defendant has contributed to the loss of a victim, the

court … may apportion liability among the defendants to reflect the level of contribution to the

victim’s loss and economic circumstances of each defendant.”).

        More specifically, the Court should require Samsel to pay $2,000 in restitution for his

felony convictions. This amount fairly reflects Samsel’s role in the offense and the damages


 31 Both statutes permit the sentencing court to decline to impose restitution where doing so will

 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
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resulting from his conduct. Moreover, in cases where the parties have entered into a guilty plea

agreement, $2,000 has consistently been the agreed upon amount of restitution and the amount of

restitution imposed by judges of this Court where the defendant was not directly and personally

involved in damaging property. Accordingly, such a restitution order avoids sentencing disparity.

   VII.    FINE

       Samsel’s convictions subject him to a maximum fine of $250,000 for each felony count

and $5,000 for each misdemeanor count. See 18 U.S.C. § 3571(b). In determining whether to

impose a fine, the sentencing court should consider a defendant’s income, earning capacity, and

financial resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing

guidelines provide for a fine in all cases, except where a defendant establishes that he is unable to

pay and is not likely to become able to pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023). The burden

is on the defendant to show present and prospective inability to pay a fine. See United States v.

Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good sense to burden a

defendant who has apparently concealed assets” to prove that “he has no such assets and thus

cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir. 1994). “In assessing

a defendant’s income and earning capacity, the court properly considers whether a defendant can

or has sought to ‘capitalize’ on a crime that ‘intrigue[s]’ the ‘American public.’” United States v.

Seale, 20 F.3d 1279, 1284–86 (3d Cir. 1994).

       Here, Samsel has not shown an inability to pay, thus pursuant to the considerations outlined

in U.S.S.G. § 5E1.2(d), the Court has authority to impose a fine. § 5E1.2(a), (e). The guidelines

fine range here is $35,000 to $350,000 U.S.S.G. § 5E1.2(c).

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       A fine is appropriate in this case. In his pre-sentence interview, Samsel “denied having any

income, bank accounts, cryptocurrency accounts,32 vehicles, real estate property, and/or any assets

of value.” PSR ¶ 158. In reality, Samsel has fundraised aggressively off his notoriety stemming

from his conduct on January 6. There are at least three active GiveSendGo pages connected to

Samsel and Genco totaling more than $136,000. 33

       Samsel has used overt falsehoods to enrich himself through these pages. One of Samsel’s

most prevalent falsehoods is the staged photo of conditions at a federal pretrial detention center.34

In a Gateway Pundit interview, in which Samsel solicited donations, Samsel stated that he was

kept in that cell for “five, six months” and that during this period, “the judge was actually calling,

trying to get in contact with me because I wasn’t in a named cell.” 35 He has misleadingly cast

himself in a sympathetic light in articles soliciting donations—“It is public knowledge that I was

not alone during the incident at the gate involving Ray Epps and Officer [C.E.]. I was part of a

group of approximately 300 individuals, yet I was the only one who pulled Officer [C.E.] to




32 Samsel in fact has stated his intention to start his own cryptocurrency, “Potestas Token,” which

he has promoted in Jan. 6 related news articles. See, e.g., “J6er Ryan Samsel Launches ‘The
Effort’: Empowering Change, Independence, and Financial Freedom,” Gateway Pundit (June 29,
2024), available at: https://www.thegatewaypundit.com/2024/06/j6er-ryan-samsel-lauches-effort-
empowering-change-independence/
33 These pages include:

“Samsel          Family,”     which     currently     has      $85,795      in     donations:
https://www.givesendgo.com/campaign/grabwidget?urllink=G2EXA (last visited: Jan. 8, 2025).
“Medical and Legal Support,” which currently has $42,982 in donations (with Genco listed as the
recipient): https://www.givesendgo.com/RyanSamsel (last visited: Jan. 8, 2025).
“The Effort,” which currently has $7,911 in donations (with Genco listed as the recipient):
https://www.givesendgo.com/TheEffortLife (last visited: Jan. 8, 2025)
34 E.g., https://www.givesendgo.com/RyanSamsel; https://www.givesendgo.com/TheEffortLife.
35 https://www.actforamerica.org/node/63669 (last visited: Jan. 8, 2025).

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safety.” 36—and has accused this Court of abuse to garner further attention and sympathy. 37

       These fundraising pages also mislead donors about the intended use of the funds. While

the fundraising pages solicit donations to assist Samsel in paying for legal fees and medical

expenses and debt, conversations between Samsel and Genco reveal an intention to use the funds

for several other purposes, which include a hair transplant and cosmetic dental work in Turkey, a

new barbershop, an apartment, steroids, and cryptocurrency ATMs.

       Finally, while currently active fundraising pages tied to Samsel total $136,000, this is a

conservative estimate not counting previously active pages that Samsel and Genco have since shut

down, 38 fundraising done jointly for Genco and Samsel or solely for Genco, 39 or donations

solicited in Bitcoin and Ethereum, which are difficult to track. 40 In recorded phone calls while

Samsel has been in custody, Samsel and Genco have reported holdings of over $240,000. And

while most of Samsel’s and Genco’s GiveSendGo campaigns are in Genco’s name, Samsel’s

recorded conversations with Genco show clearly that Samsel exerts substantial control over the




36     https://www.thegatewaypundit.com/2024/04/j6-political-prisoner-ryan-samsel-finally-sees-
doctor.
37 E.g. https://www.thegatewaypundit.com/2023/12/j6-hostage-ryan-samsel-reveals-exactly-how-

fbi/ (“When I finally was able to call into court, I told the judge, ‘Your Honor, I’m in living a hole
the size of a broom closet, and surgery is not scheduled for three months, get me the hell out of
here! Can I please be allowed in general population?’ She said, ‘No’ and kept in the hole.”).
38 E.g. https://www.givesendgo.com/THEEFFORT (last visited: Jan. 8, 2025). Interviews in which

Samsel has solicited donations have linked to this page on multiple occasions with the text
“PLEASE SUPPORT J6 POLITICAL HOSTAGE RYAN SAMSEL’S MEDICAL AND LEGAL
BATTLE HERE.” E.g., “https://www.thegatewaypundit.com/2024/04/ray-epps-exposed-never-
before-released-fbi-interview.
39 E.g. “Raechel Genco” GiveSendGo, which currently has $33,684 in donations:

https://www.givesendgo.com/raechelgenco (last visited: Jan. 8, 2025).
40 E.g. https://theeffort.life/ (last visited: Jan. 8, 2025).

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funds, discussing his future expenditures with the funds 41 and admonishing Genco for spending

the funds on what he sees as unneeded expenses. 42

       Samsel has been tireless in capitalizing on his notoriety stemming from his participation in

January 6. It would be a grave injustice to permit Samsel to enrich himself not only from his

conduct on January 6, but from his widespread lies about his conduct and what took place on

January 6. A substantial fine is warranted in this case.

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41 For example, on an October 26, 2024 jail call, Samsel mentions using $30,000 for a new

barbershop, $7,000 for hair transplant surgery, $2,000 for “teeth work,” $3,500 for new clothes,
and “a little bit” of steroids. See Gov. Exh. 1308.
42 Samsel on a Nov. 2, 2024 call discussing $242,000 in savings: “Raechel, before you spend any

money on anything, ask me. … You ask me permission … You don’t make good decisions. When
it comes to money, you ask me anything. I don’t give a fuck, Raechel. You’re blowing it on dumb
shit.” See Gov. Exh. 1309.
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   VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of 240 months of incarceration, three years of supervised release, $2,000 restitution, a

fine, and the mandatory assessment of $100 for each felony conviction and $10 for each class B

misdemeanor conviction, which adds up to $520.



                                            Respectfully submitted,

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